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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,
v.                                       Case No. 17-20758
                                         Honorable Victoria A. Roberts
JAMES DESHAWN WILLIAMS,

     Defendant.
_______________________________/

         ORDER DISMISSING DEFENDANT’S MOTION
FOR COMPASSIONATE RELEASE WITHOUT PREJUDICE [ECF No. 46]

I.    INTRODUCTION

      This matter is before the Court on James Deshawn Williams’ motion

for compassionate release under 18 U.S.C. § 3582(c)(1)(A). He asks the

Court to grant him a compassionate release due to his risk of contracting

COVID-19 and conditions at the FCI Elkton Facility. Of note, Williams has

already tested positive for, and recovered from, COVID-19.

      Because Williams failed to properly exhaust the administrative process

with the Bureau of Prisons (“BOP”), the Court DISMISSES his motion without

prejudice. [ECF No. 46].

II.   BACKGROUND
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       In February 2019, Williams pled guilty to felon in possession of a

firearm in violation of 18 U.S.C. § 922(g) and discharge of a firearm in

furtherance of a drug trafficking crime in violation of 18 U.S.C. § 924(c). The

Court sentenced Williams to a combined term of 180 months in prison and

three years of supervised release. Williams has served five years of his

fifteen year sentence taking good time into account. His projected release

date is May 10, 2025.

       Williams is 47 years old and does not report any underlying medical

conditions. He is serving his sentence at FCI Elkton in Ohio.

       Williams filed a pro se motion for compassionate release. The Court

subsequently appointed Williams counsel. The government opposes

Williams’ release.

III.   DISCUSSION

       The compassionate release statute allows the Court to modify a

defendant’s term of imprisonment if: (1) he fully exhausts all administrative

remedies; (2) he shows both “extraordinary and compelling reasons warrant

such a reduction [or release]” and that the reduction or release is consistent

with” the Sentencing Commission’s policy statements; (3) he is not a danger

to any other person or the community; and (4) the factors in 18 U.S.C. §

3553(a) support the reduction or release to the extent they are applicable.

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See 18 U.S.C. § 3582(c)(1)(A)(i); United States Sentencing Guidelines

Manual (“USSG”) § 1B1.13 cmt. n.1; United States v. Austin, No. 15-20609,

2020 WL 2507622, at *1 (E.D. Mich. May 15, 2020).

      A.      Williams Did Not Exhaust Administrative Remedies

      The Sixth Circuit recently held that exhaustion of administrative

remedies is a “mandatory condition” before a defendant can file a motion for

compassionate release. United States v. Alam, 960 F.3d 831, 833 (6th Cir.

2020). The Sixth Circuit found “[t]he seriousness of COVID-19 and its spread

in many prisons make it all the more imperative that the prisons have

authority to process these applications fairly and with due regard for the

seriousness of each inmate’s risk.” Id. at 835-36. Before a prisoner moves

for compassionate relief, he must either (1) fully exhaust all administrative

rights to appeal a failure of the BOP to bring a motion on his behalf or (2)

wait thirty days after the receipt of such a request by the warden of his facility.

Id. at 832.

      Williams is rightfully concerned about his health and the conditions at

FCI Elkton. The conditions at FCI Elkton are notorious. United States v.

Bandrow, 2020 WL 4050242 at *1 (E.D. Mich. Jul. 20, 2020) (“Elkton has

been and continues to be ravaged by the COVID-19 pandemic”); United

States v. Brant, 2020 WL 2850034 at *2 (E.D. Mich. June 2, 2020) (“The

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situation at FCI Elkton appears dire”); United States v. Rodriguez, 2020 WL

1627331 at *9 (E.D. Penn. Apr. 1, 2020) (“[t]he situation at FCI Elkton in

particular is alarming”).

      However, FCI Elkton has made progress in combatting the spread of

COVID-19 according to Andrea Burnside, the executive assistant/acting

associate warden at Elkton. See declaration filed in Wilson v. Williams

detailing the methods Elkton staff uses to combat COVID-19. [ECF No. 48-

2] (filed in Wilson v. Williams, 961 F.3d 829 (6th Cir. 2020). See United

States v. Bryant, 2020 WL 3605282 at *4 (E.D. Mich. July 2, 2020). For

example, prisoners who test positive are isolated for at least fourteen days,

and asymptomatic persons who have been exposed to the virus are

quarantined for fourteen days. Id. at *9. The measures at Elkton appear to

be successful. According to the BOP website, as of September 23, 2020,

there is currently one active prisoner case and two active staff cases at FCI

Elkton. See COVID-19, Bureau of Prisons, https://perma.cc/6WSH-KW52.

      Supervising Probation Officer Charmarie Green – based on her

research – reports that Williams tested positive for COVID-19 on June 19,

2020 and was listed as “recovered” on July 24, 2020.

      However, Ms. Green’s research does not indicate that Williams

requested compassionate release. In his pro se motion, Williams makes no

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references to a request to the BOP for compassionate release. The Court

cannot analyze whether Williams presents “extraordinary and compelling

reasons”   for   compassionate    release   until   he     properly   exhausts

administrative remedies with the BOP.

      Williams does not satisfy the exhaustion requirement.

IV.   CONCLUSION

      The Court DISMISSES Williams’ motion for compassionate release

without prejudice [ECF No. 46].

      IT IS ORDERED.
                                         s/ Victoria A. Roberts
                                         Victoria A. Roberts
                                         United States District Judge
Dated: September 25, 2020




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